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                                                         February 25, 2022

     VIA ECF

     Honorable Robert Kugler, U.S.D.J.                                 Honorable Thomas I. Vanaskie (Ret.)
     U.S. District Court - District of New Jersey                      Special Master
     Mitchell S. Cohen Building & US                                   Stevens & Lee
     Courthouse                                                        1500 Market St., East Tower, Suite 1800
     1 John F. Gerry Plaza, Courtroom 4D                               Philadelphia, Pennsylvania 19103-7360
     4th and Cooper Streets
     Camden, New Jersey 08101

                Re:        In re Valsartan, Losartan, and Irbesartan Liability Litigation,
                           Case No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Kugler and Judge Vanaskie:

                Please accept this letter on behalf of Plaintiffs in advance of Monday’s case management

     conference.

          1. Daubert Hearing Schedule.

                The Parties met and conferred on February 25, 2022, to discuss scheduling and their

     respective understanding as to the logistics for the hearings. Plaintiffs confirmed that the three

     expert witnesses they will be presenting—Dr. Lagana, Dr. Etminan, and Dr. Panigrahy—are

     available to testify on March 3, 2022. Defendants advised that the two expert witnesses they will

     be presenting are available later in the month and proposed March 15, 2022, for Dr. Botoroff, and

     March 29, 2022, for Dr. Johnson. Those dates work for Plaintiffs.
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         During the call, the Parties confirmed a common understanding from the Court’s prior

 discussion of the hearings. Specifically, that the cross-examination is expected to be narrowly

 confined to the scope of the written Certification/Declaration, and should not stray beyond the

 specific point(s) of the submission. Based on this understanding, Plaintiffs expect that all three of

 their experts should be able to be completed on March 3, 2022.

         Defendants also advised that they would be submitting argument in their agenda letter in

 support of an objection to the process delineated by the Court. From the discussion, it is Plaintiffs’

 understanding that Defendants will be requesting that the Court reconsider and significantly alter

 the plan to direct that every witness challenged be required to provide full testimony on the full

 scope of opinions held, including regarding their methodology, the foundation for their opinions,

 and how they arrived at their opinions. They also suggested that the direct testimony, and

 testimony elicited on cross-examination could be supplemented by “other evidence” with regard

 to the reliability of the expert’s opinions.

         Plaintiffs submit that the Court’s already delineated process fully comports with the

 purposes of a Daubert hearing, and that there is no good cause to alter the plan. Each side had a

 fair opportunity to depose the other side’s experts on their opinions, and to file extensive opening

 and reply briefs seeking to preclude the adverse experts.          What Defendants now seek is

 unnecessary and would largely duplicate what was or should have been addressed during the

 depositions. Most important, the purpose of the Daubert hearing is for a party defending against

 an attack on his or her methodology to present that expert to testify to highlight, clarify, or defend

 the opinions, as the case may be. This is so that the party will not be able to later complain that it

 was deprived of the opportunity to present the expert’s testimony to the Court in the event a
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 Daubert motion is granted in whole or in part. The purpose is not for the adverse party to compel

 the other side's witness(es) to testify in order to obtain a second opportunity to question the

 expert(s) after having had the chance to fully depose the expert and file two extensive briefs in

 support of their Daubert motion. The process established here is well within the Court’s discretion.

        For these reasons, Plaintiffs submit that the hearings should proceed as already directed by

 the Court, on March 3, 2022, with no changes to the ground rules.

    2. Marker Group’s Data Breach

        Plaintiffs have recently learned that the medical records vendor used by Defendants, the

 Marker Group, was the victim of a widespread and unprecedented cyber-attack and data breach.

 The Marker Group is in possession of Plaintiffs’ personal health and confidential information

 contained within Plaintiffs’ Fact Sheets and medical records.

        Because Plaintiffs do not have a direct contractual relationship with the Marker Group,

 Plaintiffs have made inquiries with the Defendants to try and ascertain the scope of the data breach,

 and any potential impact it may have on any one plaintiff’s confidential identifying or personal

 health information. Only today did Counsel for Plaintiffs learn from Defendants that 88 of the

 individual plaintiffs in this litigation had their data compromised in this breach. (See Ex .A hereto).

        At this time, the Plaintiffs are not seeking any relief or assistance from the Court, but

 merely include this item to keep the Court abreast of an evolving and fluid situation.

    3. Dismissal of CVS from the Medical Monitoring Master Complaint

        Retail Pharmacy Defendant CVS has requested it be dismissed from the Medical

 Monitoring Class Complaint. CVS bases this request on Plaintiffs’ recent agreement to withdraw

 other proposed class representatives, resulting in what CVS claims is a “gap” now in whether the
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 remaining proposed class representatives purchased valsartan from CVS. As with Defendants’

 prior attempts to obtain early dismissal of parties or claims, Plaintiffs are evaluating CVS’s request

 in good faith and will respond accordingly. Plaintiffs note – again – that in the interest of efficiency

 Plaintiffs have agreed to voluntarily dismiss multiple claims or named plaintiffs in the past, where

 appropriate. In the meantime, it is improper for any Defendant to force a premature facts-based,

 merits decision in the context of these recurring CMCs. As previously discussed with the Special

 Master, Plaintiffs cannot be compelled to dismiss any plaintiff or claim prematurely, especially

 when CVS is free to raise its arguments at class certification or summary judgment. Therefore,

 Plaintiffs submit there is nothing for the Special Master or the Court to address here at this time.

     4. Plaintiff Fact Sheet Show Cause Submissions.

         Plaintiffs will be prepared to address this issue during the case management conference.

                                         Respectfully,

                                         ADAM M. SLATER
 Encl.

 Cc: All counsel of record (via ECF)
